       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 1 of 15




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

     UNITED STATES OF AMERICA                      )
                                                   )
                               v.                  )   Criminal No.: 19-10080-NMG
                                                   )
        GAMAL ABDELAZIZ et al.,                    )
                                                   )
                      Defendants                   )

              GOVERNMENT’S OPPOSITION TO DEFENDANTS’
     MOTION TO SUPPRESS CONSENSUALLY RECORDED CALLS [DKT. 2128]

        The defendants’ eve-of-trial motion to suppress consensually recorded calls is both

untimely and frivolous on its merits. Dkt. 2128. Indeed, the defendants concede that “it may seem

odd to require a telephone company to receive a court order prior to intercepting a telephone where

the owner of the device has already consented to such interception.” Id. at 7. That argument is

not just “odd.” It is contrary to Title III and black-letter law.

        For two-and-a-half years, the defendants have been aware not just of the consensually

recorded calls they now seek to suppress, but also of the fact that AT&T facilitated the

government’s interception of those calls pursuant to the consent of the device’s owner, William

“Rick” Singer. Indeed, the consent form they now challenge, and the letter seeking AT&T’s

assistance, was produced to them on May 17, 2019. Now, however – barely a week before trial,

in a last-ditch effort to prevent the jury from hearing their own devastating admissions captured

on tape – they seek unprecedented relief based on their purported late discovery of a “profound

error” in how those calls were intercepted. Id. at 1. But there was no error, and the interceptions

were utterly routine and lawful. For those reasons, and the reasons set forth more fully below, the

defendants’ motion should be denied.
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 2 of 15




I.     RELEVANT BACKGROUND

       A.      The Wiretaps and the Consensually Recorded Calls

       On September 21, 2018, law enforcement agents approached Singer based on information

gathered from, among other things, four consecutive 30-day wiretaps of his phone number ending

in -8802. The last of those court-authorized wiretaps was scheduled to expire on September 29,

2018. Dkt. 2128-1 at 2.

       On September 27, 2018, after conferring with his attorney, Singer signed a consent and

acknowledgement form stating: “I consent to the interception and recording of any and all

communications made by me over all telephones, cellular or otherwise, provided to or made

available to me by law enforcement agents in connection with actions taken by me in connection

with law enforcement agents.” Dkt. 2128-3 (emphasis added). Singer and his attorney each signed

the consent form in the presence of federal agents. Id. The government provided the signed

consent form to Singer’s phone provider, AT&T, together with a letter noting that, in accordance

with 18 U.S.C. § 2511(2)(c), “consent of one of the parties to a communication is sufficient under

the law to permit monitoring without court order.” Dkt. 2128-2. The letter was inadvertently

dated September 20, 2018, but the consent form was dated September 27, and the consensual

interceptions did not begin until after AT&T received the consent form.

       On October 2, 2018, in the application to seal the final Title III wiretap and to postpone

inventories, the government informed the court that Singer had begun cooperating, that he had

consented to the recording of his calls, and that the court-authorized interceptions of his phone that

had commenced pursuant to the court’s most recent renewal of the wiretap on August 30, 2018,

had therefore “ceased at midnight of September 27, 2018” (two days before it was scheduled to

expire). Dkt. 2128-1 at 2–3. At the direction of law enforcement, Singer proceeded to make

                                                  2
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 3 of 15




consensually recorded calls from his phone to the defendants and others, and the government

intercepted and monitored those calls with technical assistance from AT&T. Id.

       Based in part on evidence collected during those calls, the defendants were arrested via

criminal complaint in March 2019. Dkt. 3. The complaint detailed the consensually recorded

phone calls between Singer and defendant Abdelaziz, and between Singer and defendant Wilson.

Dkt. 3-3 at ¶¶ 192–93 (Abdelaziz); Dkt. 3-4 at ¶¶ 304–10 (Wilson). On May 17, 2019, the

government produced discovery concerning the Title III wiretaps and the consensually recorded

calls to defendants Abdelaziz and Wilson. The production included Exhibits A, B, and C to the

defendants’ motion to suppress: the motion to seal submitted to Judge Burroughs, the letter

submitted to AT&T, and the consent form signed by Singer and his attorney.

       B.      The Court’s Deadline for Motions to Suppress

       On January 17, 2020, Chief Magistrate Judge Kelley set a deadline of April 1, 2020 for all

motions pursuant to Fed. R. Crim. P. 12(b), including motions to suppress. Dkt. 745 at 1. During

a February 2020 status conference, this Court confirmed that deadline. Dkt. 914 at 12:20–24

(“Those motions will be due as originally scheduled on April 1.”). Leading up to the April 1, 2020

cut-off, the defendants filed nearly 20 such motions, including several motions to suppress both

the court-authorized wiretap calls intercepted pursuant to Title III and the calls recorded with

Singer’s consent. See, e.g., Dkt. 971, 1015, 1024.

       None of the dozens of lawyers for the 14 defendants who filed those motions, including

counsel for Abdelaziz and Wilson, argued that the consensual calls were subject to Title III and

improperly intercepted without court authorization, or alternatively, that Singer’s consent to the

interceptions was invalid. To the contrary, the defendants acknowledged that Singer had consented

to the interceptions beginning on September 27, 2018, and they even distinguished those

                                                3
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 4 of 15




recordings from the previous court-authorized Title III wiretaps. See, e.g., Dkt. 972 at 24–25

(noting that the government recorded Singer’s calls “pursuant to a Title III wiretap between June

5, 2018, and September 29, 2018, and with his consent between September 27, 2018 and March

11, 2019”) (emphasis added); see also id. at 22 (“Singer wrote the notes on the phone that he

allowed the [g]overnment to monitor.”) (emphasis added). As of June 24, 2020, this Court fully

adjudicated the defendants’ various motions to suppress, denying them all. Dkt. 1169, 1338.

II.    ARGUMENT

       The defendants’ motion to suppress the consensually recorded calls between Singer and

the defendants should be denied for at least three reasons. First, it is untimely by nearly a year-

and-a-half, and the defendants cannot demonstrate good cause for the delay. Second, Title III

expressly exempts consensual interceptions from its scope, and Singer both explicitly and

impliedly consented to the interception and recording of his phone calls. Third, suppression is not

warranted under the good-faith doctrine.

       A.      The Motion Is Untimely and the Defendants Cannot Demonstrate Good Cause

       First, the Court need not – and under the circumstances should not – consider the

defendants’ motion to suppress because it is untimely. Untimely is an understatement: the Court’s

deadline for motions pursuant to Fed. R. Crim. P. 12(b) passed 17 months ago.

       Under Fed. R. Crim. P. 12(c)(3), “[i]f a party does not meet the deadline for making a Rule

12(b)(3) motion, the motion is untimely.” Such an untimely motion may be considered only if

“the party shows good cause” for the delay. Id. Recently, the First Circuit has affirmed the denial

of motions to suppress as untimely that were filed shortly after the district court’s deadline for

Rule 12(b)(3) motions passed, even where the defendant presented at least a colorable justification

for the delay. For example, in United States v. Arias, Chief Judge Saylor denied the defendant’s

                                                4
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 5 of 15




motion for leave to file a motion to suppress wiretap evidence as untimely where newly-appointed

CJA counsel missed the deadline by two weeks. See Arias, No. 13-10263-FDS, Dkt. 226 (D.

Mass. May 7, 2015). In affirming, the First Circuit concluded that the district court correctly

“denied [the defendant’s] third suppression motion because it had been filed more than two weeks

after the previously imposed deadline for making such a finding.” United States v. Arias, 848 F.3d

504, 513–14 (1st Cir. 2017).1 In a similar situation, the First Circuit “conclude[d], without serious

question,” that a motion to suppress was properly denied as untimely where it was filed five months

late, noting that “[t]o say more about this claim . . . would be pointless.” United States v. Santana-

Dones, 920 F.3d 70, 81 (1st Cir. 2019), cert denied, 140 S. Ct. 257 (2019); see also United States

v. Sweeney, 887 F.3d 529, 534 (1st Cir. 2018) (affirming denial of motion to suppress as untimely

where it was filed shortly before trial); United States v. Walker-Couvertier, 860 F.3d 1, 9 & n.1

(1st Cir. 2017) (explaining that, pursuant to Rule 12(c)(3), the First Circuit deems waived and

declines to review any untimely motion to suppress that is not excused by good cause for the delay,

even where the district court denied the motion on the merits after finding the motion untimely).

       Here, the deadline for filing suppression motions passed more than one-thousand docket

entries ago. And the defendants – represented by sophisticated counsel – cannot establish any

cause, much less “good cause,” for bypassing the deadline by 17 months. Without even seeking

leave of Court to file their motion to suppress, the defendants barely try to justify the motion’s

untimeliness. Instead, in a single citationless paragraph concluding their motion, the defendants

maintain that the purported Title III violations “were only recently fully exposed” by a certification

of authenticity that the government filed for the Title III and consensual calls. Dkt. 2128 at 12.



       1
           Unless otherwise noted herein, all internal citations, quotation marks, and alterations are
omitted.
                                                   5
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 6 of 15




       That is untrue. The certification, sworn by a Supervisory Special Agent of the FBI, adds

nothing to the discovery that the defendants received 28 months ago about the Title III wiretaps

and consensually recorded calls. Rather, it states that phone providers are statutorily required to

“have the ability to perform electronic surveillance pursuant to a court order or other lawful

authorization” (e.g., consent, discussed below), and that, in this case, Supervisory Special Agent

King was able to authenticate the Title III and consensual recordings from June 2018 to March

2019 that were stored in the FBI’s telephony collection system. Dkt. 2099-1 at ¶¶ 3, 4, 7. For

more than two years, the defendants have had ample time to review, among other things, (i) the

complete set of Title III wiretap calls and the consensually recorded calls, (ii) all sealed court

filings in connection with the wiretap, including the motion to seal appended as Exhibit A to their

present motion, and (iii) the letter to AT&T and Singer’s consent form appended as Exhibits B and

C to their motion.

       From those documents, it was abundantly clear that AT&T provided technical assistance

for the consensual interceptions, based on Singer’s consent, after the court-authorized wiretap

concluded. The recently filed authenticity certification adds nothing to what the defendants

already knew from discovery and what they told the Court in moving to suppress the Title III calls

and consensual recordings for other reasons: “[The government recorded calls] pursuant to a Title

III wiretap between June 5, 2018, and September 29, 2018, and with [Singer’s] consent between

September 27, 2018 and March 11, 2019.” Dkt. 972 at 24–25. Accordingly, the sole basis the

defendants provide for their untimely filing is not only insufficient to establish “good cause,” it is

also untrue. Their motion is a quintessential example of one warranting denial as untimely under

Fed. R. Crim. P. 12(c)(3).



                                                  6
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 7 of 15




       B.      Title III Does Not Require a Court Order for Consensually Intercepted Calls,
               and Singer Both Expressly and Impliedly Consented to Interception

       Second, Singer’s express and implied consent to the government’s monitoring of his phone

triggers the statutory exclusion for consensual interceptions from Title III.

       Title III of The Omnibus Crime Control and Safe Streets Act of 1968 (“Title III”), 18

U.S.C. §§ 2510 et seq., “prohibits the interception of telephone conversations, subject to certain

exceptions, without a court order.” United States v. Lewis, 406 F.3d 11, 14 (1st Cir. 2005) (citing

18 U.S.C. §§ 2511, 2518); accord United States v. Roy, 349 F. Supp. 2d 60, 62 (D. Mass. 2003)

(Gorton, J.). The law prescribes requirements that law enforcement must satisfy to engage in

“covert,” that is non-consensual, surveillance. See Dalia v. United States, 441 U.S. 238, 240 &

nn. 1–2 (1979) (“All types of electronic surveillance have the same purpose and effect: the secret

interception of communications.”) (emphasis added). But as the First Circuit has explained,

“Congress, in its wisdom, chose to insert a myriad of exceptions and restrictive definitions into

Title III, purposely leaving certain wire communications unprotected.” United States v. v. Diaz-

Diaz, 433 F.3d 128, 134 (1st Cir. 2005) (quoting Griggs-Ryan v. Smith, 904 F.2d 112, 116 (1st

Cir. 1990)).

       Consent is one of those myriad of exceptions to Title III’s prohibitions on interception

absent court authorization. Specifically, Section 2511(2)(c) provides the consent exception to Title

III’s requirements:

       It shall not be unlawful under this chapter for a person acting under color of law to
       intercept a wire, oral, or electronic communication, where such person is a party to
       the communication or one of the parties to the communication has given prior
       consent to such interception.

18 U.S.C. § 2511(2)(c). Or as Justice O’Connor has more plainly explained, Section 2511(2)(c)

expressly excludes consensual recordings from Title III’s scope and “authorizes telephone calls to

                                                 7
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 8 of 15




be monitored if one party to the call consents to the monitoring.” United States v. Conley, 531

F.3d 56, 58 (1st Cir. 2008) (O’Connor, J.). Thus, “if [one party] granted consent to monitoring of

his calls, their introduction into evidence would not violate [Title III].” Id. (affirming denial of

motion to suppress). This is unsurprising: if the interception is by consent, then it is not secret to

the party whose phone is being intercepted.

       Section 2511(2)(c)’s exclusion of consensually recorded communications from Title III’s

requirements has been repeatedly applied in the First Circuit and this District in a variety of

contexts. See, e.g., United States v. Font-Ramirez, 944 F.2d 42, 47 (1st Cir.2005) (“The statute

permits the taping of conversations without [court] approval if a person who is a party to the

conversation gives prior consent.”); see also Lewis, 406 F.3d at 14 (affirming denial of motion to

suppress consensually recorded calls); United States v. Footman, 215 F.3d 145, 154–55 (1st Cir.

2000) (“It is settled law [under Title III] that only one party need consent to the interception of the

calls.”); United States v. Pratt, 913 F.2d 982, 986–87 (1st Cir. 1990) (“While it is certainly true,

as a general rule, that eavesdropping and wiretapping are permissible only with probable cause

and a warrant, under federal law, consent of one party to a conversation is sufficient to permit a

person acting under color of law to lawfully intercept a wire, oral, or electronic communication.”);

Griggs-Ryan, 904 F.2d at 116 (applying the “Title III exclusion applicable where one of the parties

to the communication has given prior consent to such interception”); Novak v. United States, No.

10-11975-RGS, 2012 WL 170885, at *1 n.4 (D. Mass. Jan. 20, 2012) (finding argument that

consensually recorded calls were inadmissible under Title III “doomed from the outset” because

“[t]he consent exemption to Title III renders its exclusionary provisions inapplicable when one of

the parties to the communication has given prior consent to such interception”); United States v.

Sanchez, No. 05-10235-GAO, 2007 WL 9718522, at *3 (D. Mass. Sept. 7, 2007) (denying motion

                                                  8
        Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 9 of 15




to suppress because individual, “after agreeing to cooperate and set up a cocaine buy with

[defendant], consented to let [agents] listen in on his conversations as they were being conducted”).

Accordingly, it is well-settled that “evidence obtained from a consensual wiretap conforming to

18 U.S.C. § 2511(2)(c) is admissible” without implicating Title III. United States v. Adams, 694

F.2d 200, 201 (9th Cir. 1982), cert. denied, 462 U.S. 1118 (1983).

        Against this backdrop, the defendants effectively ask this Court to rewrite Title III and

create new law. Specifically, they contend that “regardless of consent, a [phone] provider cannot

assist in interception and monitoring absent court order.” Dkt. 2128 at 4. In other words, the

defendants maintain, if an individual consents to interception, and law enforcement uses, for

example, a tape recorder, Title III is not implicated due to the consent exclusion. But if the

individual consents, and law enforcement seeks technical assistance from the individual’s phone

provider to intercept the call, Section 2511(2)(c)’s exclusion from Title III for consensual

interceptions evaporates, and law enforcement must then obtain court authorization to execute

consensual interceptions.

        That is not the law. Unsurprisingly, the defendants cite no case even suggesting that there

is such an unwritten exception to Section 2511(2)(c)’s explicit authorization of consensual

interceptions, and the government is unaware of any such precedent. See, e.g., Adams, 694 F.2d

at 201 (“[E]vidence obtained from a consensual wiretap conforming to 18 U.S.C. § 2511(2)(c) is

admissible . . . .”).

        Indeed, the case law is flatly to the contrary – including the lone authority defendants cite.

See Dkt. 2128 at 6 (citing In re Application of the United States, 128 F. Supp. 3d 478 (D.P.R.




                                                  9
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 10 of 15




2015)).2 In that case, the court reaffirmed the precedent above, explaining that Title III “authorizes

law enforcement to conduct wiretaps without court approval where permission is given by one

party to the communication.” Id. at 483 (emphasis added). Because the individual in that case

consented to monitoring, the court explained that “law enforcement officers here do not need an

order authorizing or approving the interception of electronic communications to and from [the]

Target Phone, because § 2511(2)(c) allows law enforcement officials to intercept oral, wire, or

electronic communications without [court] approval if . . . a party to the conversation gives prior

consent.” Id. at 482 (emphasis added). In that case, the issue before the court was the phone

provider’s refusal to provide technical assistance for the consensual interceptions without a court

order, and the court thus ordered the provider to do so pursuant to Fed. R. Crim. P. 41, precisely

because the court did not have authority under Title III to order a consensual wiretap. See id. at

484.

       Likewise, in a recent case in the Eastern District of New York, the court found that it lacked

authority under Title III or the All Writs Act to order a phone company to facilitate a consensual

wiretap where the company refused, but that the government did not need such an order to obtain

the phone company’s voluntary assistance in light of the consent. See In re Application of the

United States, 256 F. Supp. 3d 246 (E.D.N.Y. 2017). The court wrote: “It is no criticism to

observe that the government has not met its burden [under Title III] to secure an order permitting

the interception of communications for the simple reason that no such order is legally required

under the circumstances. The Witness having provided consent, the government is within its rights


       2
        The defendants also include a “cf.” citation to a decision in this District, where the court
addressed a non-consensual Title III wiretap, which is not implicated by the defendants’ motion.
See United States v. Rodriguez, No. 17-10066-IT, 2018 WL 988054, at *4 (D. Mass. Feb. 20,
2018) (“It is for the court, and not the service provider, to decide whether interception is
warranted.”).
                                               10
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 11 of 15




to intercept the Witness’s communications without a court order.” Id. at 251 n.6 (citing 18 U.S.C.

§ 2511(2)(c)).

       Here, the defendants argue that law enforcement must obtain court-authorization pursuant

to Title III to obtain technical assistance from a provider in executing a consensual wiretap. But

no court has ever reached that conclusion. To the contrary, courts have held that not only does

law enforcement not need court-authorization to execute a consensual wiretap under Section

2511(2)(c), but that Title III does not even confer on courts the authority to order such consensual

wiretaps where providers decline to assist. See In re Application of the United States, 128 F. Supp.

3d at 483 (“Title III also does not appear to provide the necessary authority for me to order provider

cooperation.”). In other words, the relief the defendants seek is barred by statute.

       Furthermore, the defendants argue that AT&T was barred by Title III from voluntarily

complying with the request to provide technical assistance with the consensual interceptions,

contending that service providers may only do so based on either an order or certification for

provider assistance pursuant to 18 U.S.C. § 2511(2)(a)(ii). However, 18 U.S.C. § 2511(3)

expressly permits “an entity providing electronic communication service”3 to divulge the contents

of any communication “with the lawful consent of the originator or any addressee or intended

recipient of such communication.” 18 U.S.C. § 2511(3)(b)(ii). Such consent was obtained from

Singer, the undisputed originator and recipient of every call over the monitored phone, and notice

of that consent was provided to AT&T before AT&T assisted with the interceptions. Moreover,

Title III grants a service provider complete immunity against liability for any civil or criminal

violation under the statute where the provider made a “good faith determination that section


       3
         Section 2510(15) defines “electronic communication service” as “any service which
provides to users thereof the ability to send or receive wire or electronic communications.” 18
U.S.C. § 2510(15) (emphasis added).
                                                11
      Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 12 of 15




2511(3) . . . of this title permitted the conduct complained of.” 18 U.S.C. § 2520(d)(3). Thus,

AT&T’s voluntary assistance was permissible according to the plain language of Title III.

       Perhaps recognizing the weakness of their unprecedented argument, the defendants retreat

to a second contention under Title III: even if the government did not need court authorization to

consensually monitor Singer’s phone and AT&T did not need court authorization to provide

technical assistance, Singer “did not grant consent.” Dkt. 2128 at 10. This contention is equally

meritless.

       Tellingly, the defendants cite no precedent regarding the meaning of consent under Section

2511(2)(c). It is “settled law in the First Circuit and elsewhere that Title III affords safe harbor”

for both “explicit consent” and “implied consent.” Gilday v. Dubois, 124 F.3d 277, 297 (1st Cir.

1997). As this Court has held, it is also “settled law” that “the consent exemption under Title III

is construed broadly.” Roy, 349 F. Supp. 2d at 63 (Gorton, J.). Here, there is no question that

Singer provided express written consent for law enforcement to monitor his phone calls: he and

his attorney signed a consent and acknowledgement form stating: “I consent to the interception

and recording of any and all communications made by me over all telephones, cellular or

otherwise, provided to or made available to me by law enforcement agents in connection with

actions taken by me in connection with law enforcement agents.” Dkt. 2128-3 (emphasis added).

The First Circuit has found explicit consent “unambiguous” in similar circumstances. See, e.g.,

United States v. Footman, 215 F.3d 145, 155 (1st Cir. 2000) (finding “unambiguous[]” explicit

consent where inmate signed a form indicating that he understood that any use of the telephone,

except in calling an attorney, would be subject to monitoring).

       Confronted with Singer’s consent form, which they have possessed for more than two

years, the defendants retreat yet again, this time to semantics. Singer’s consent, the defendants

                                                 12
      Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 13 of 15




maintain, was not valid because law enforcement monitored his personal cell phone, whereas his

acknowledgement form granted law enforcement consent to monitor “all telephones, cellular or

otherwise, provided to or made available to me by law enforcement agents in connection with

actions taken by me in connection with law enforcement agents.” This argument is meritless for

two reasons. As an initial matter, law enforcement agents only “made available” one phone for

Singer to make calls at the agents’ direction: that was his personal phone, which the agents allowed

Singer to use so that he could continue to seamlessly conduct his business as part of the

government’s proactive investigation. Moreover, even assuming the consent form Singer and his

attorney both signed somehow did not encompass his personal cell phone (which it did), Singer

gave implied consent to the interception and recording of calls over this device by making calls to

the defendants at the direction of, and using ruses designed by, law enforcement agents. “In the

Title III milieu as in other settings, consent inheres where a person’s behavior manifests

acquiescence or a comparable voluntary diminution of his or her otherwise protected rights.”

Griggs-Ryan, 904 F.2d at 116. Implied consent is “inferred from surrounding circumstances

indicating that the party knowingly agreed to the surveillance,” including “language or acts which

tend to prove . . . that a party knows of, or assents to, encroachments on the routine expectation

that conversations are private.” Id. at 116–17 (finding implied consent given repeated actual and

constructive notice of monitoring).      By repeatedly making calls at the direction of law

enforcement, on a phone that he knew was being intercepted and recorded, Singer consented to the

monitoring of his phone.

       C.      Suppression Is Not Warranted Under the Good-Faith Doctrine

       Third, even were the Court to conclude that the defendants have demonstrated good cause

for their untimely suppression motion (which they have not), and even were the Court to conclude

                                                13
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 14 of 15




either that (i) law enforcement was required to obtain a court-authorized Title III wiretap despite

Singer’s consent, or that (ii) Singer did not validly consent, suppression would nevertheless be

unwarranted. No court has ever construed Section 2511(2)(c) to hold that judicial authorization is

required for consensual interceptions. Nor has any court, to the government’s knowledge, ever

found that a consent form signed by both an individual and his attorney was insufficient to trigger

Section 2511(2)(c)’s exclusion of consensual interceptions from Title III. Accordingly, the

government acted in good faith by executing the consensual interceptions in accordance with

Section 2511(2)(c) and First Circuit precedent broadly construing consent and holding that Title

III’s requirements are not implicated by consensual wiretaps. See, e.g., United States v. Rose, 914

F. Supp. 2d 15, 23 (D. Mass. 2012) (Gorton, J.) (citing Davis v. United States, 564 U.S. 229 (2011))

(denying motion to suppress, and explaining that “the last resort of suppression [wa]s not

warranted [] because the agents did not exhibit deliberate, reckless, or grossly negligent disregard”

and because they “rel[ied] on the consensus of lower courts and a common-sense reading of

Supreme Court doctrine”). “To penalize the government when it acts in good faith is unlikely to

have a deterrent effect on future ‘misconduct.’” United States v. Vest, 842 F.2d 1319, 1334 (1st

Cir. 1988) (rejecting dismissal based on the government’s good faith, but legally incorrect, belief

in the legality of playing a recording to a grand jury in violation of Title III).

III.    CONCLUSION

        For the foregoing reasons, the defendants’ motion to suppress should be denied.




                                                  14
       Case 1:19-cr-10080-NMG Document 2151 Filed 09/05/21 Page 15 of 15




                                                       Respectfully submitted,

                                                       NATHANIEL R. MENDELL
                                                       Acting United States Attorney

                                                   By: /s/ Ian J. Stearns
                                                      JUSTIN D. O’CONNELL
                                                      KRISTEN A. KEARNEY
                                                      LESLIE A. WRIGHT
                                                      STEPHEN E. FRANK
                                                      IAN J. STEARNS
                                                      Assistant United States Attorneys


                                  CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.

       Dated: September 5, 2021                        /s/ Ian J. Stearns
                                                       IAN J. STEARNS




                                                 15
